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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

IN RE: CIVIL ACTION

NO. 19-10348-WGY
THOMAS R. BATEMAN and
KATHERINE E. BATEMAN, CHAPTER 7 CASE

NO. 17-11217-FJB

 

 

Debtors.
JOSEPH G. BUTLER,
Chapter 7 Trustee,
Plaintiff,

ADVERSARY PROCEEDING
NO. 19-01001

Ve
ROBERT E. BATEMAN,
LESLIE A. BATEMAN, and
TOWN OF SEBAGO, MAINE,

Defendants.

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YOUNG, D.J. July 1, 2019

MEMORANDUM OF DECISION

I. INTRODUCTION

“[J]urors are the life's blood of our third branch of
government.” Marchan v. John Miller Farms, Inc., 352 F. Supp.
3d 938, 947 (D.N.D. 2018). Here, the defendants in a bankruptcy
adversary case, Robert E. and Leslie A. Bateman (collectively,
the “younger Batemans”) and the Town of Sebago, Maine

(“Sebago”), sought to withdraw the reference of that case to the
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Bankruptcy Court. Mot. Withdraw Reference Bankruptcy Ct. 1-7
(“Mot. Withdraw”), ECF No. 1.1 Because this case invokes
quintessential jury questions and waiting to withdraw the
reference would slow the flow of the very “life’s blood of our
third branch of government,” the Court GRANTED the younger
Batemans and Sebago’s motion. See Marchan, 352 F. Supp. 3d at
947.
II. BACKGROUND

Thomas R. and Katherine E. Bateman (collectively, the
“elder Batemans,” or, collectively with the younger Batemans,
the “Batemans”) filed a Chapter 11 bankruptcy petition in the
United States Bankruptcy Court for the District of Massachusetts
(the “Bankruptcy Court”) on April 5, 2017. Chapter 11 Voluntary
Pet. Individual, In re Bateman, Ch. 7 Case No. 17-11217-FJB
(Bankr. D. Mass. Apr. 5, 2017) (“In re Bateman”), ECF No. 1.
Pursuant to the United States Trustee and the elder Batemans’
stipulation, the Bankruptcy Court converted the case into a
Chapter 7 proceeding on February 5, 2018, Proceeding Mem. /Order,

In re Bateman (Feb. 5, 2018), ECF No. 134, and appointed Joseph

 

1 Flectronic Case Filing docket number one contains the
entire briefing for the instant motion. For clarity, this
memorandum uses the page of the consolidated portable document
file cited, not the numbers that appear as a legend on each page
of the document. For example, a reference to page ten of the
opposition to the motion to withdraw refers to tenth page of the
consolidated portable document file, notwithstanding the legends
indicating that it is page one and fifteen.

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G. Butler (“Butler”) as Chapter 7 Trustee the next day,
Certificate Appointment, In re Bateman (Feb. 6, 2018), ECF No.
135.

On January 2, 2019, Butler filed a verified adversary
complaint against the younger Batemans and Sebago. Verified
Adversary Compl. Avoid & Recover Fraudulent Transfer & Inj.
Relief (“Adv. Compl.”), In re Bateman (Jan. 2, 2019), ECF No.

188, Butler v. Bateman (In re Bateman) (“Adv. Proc.”), Adv.

 

Proc. No. 19-01001, ECF No. 1. The adversary complaint alleges
that the elder Batemans fraudulently transferred their Sebago
vacation home to the younger Batemans through Sebago after
Sebago enforced a real estate tax lien on the vacation home.
Adv. Compl. 1. The adversary complaint demands damages from the
allegedly fraudulent transfer or rescission of the transaction.
Adv. Compl. II 62-63, 71-72, 79-80, 90-91. On January 31, 2019,
the younger Batemans answered the adversary complaint and
demanded trial by jury. Answer & Jury Demand Defs. Robert E.
Bateman & Leslie A. Bateman, Adv. Proc., ECF No. 34. On March
1, 2019, Sebago moved to dismiss the adversary complaint, which
Butler opposed. Sebago’s Mot. Dismiss Verified Compl. Avoid &
Recover Fraudulent Transfer & Inj. Relief Incorporated Mem. Law,

Adv. Proc., ECF No. 39; Pl.’s Opp’n Sebago’s Mot. Dismiss

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Verified Compl. Avoid & Recover Fraudulent Transfer & Inj.
Relief, Adv. Proc., ECF No. 44.2

On March 8, 2019, the younger Batemans moved to withdraw
the reference to the Bankruptcy Court. Mot. Withdraw 1. The
younger Batemans and Butler fully briefed the motion, and the
Court heard argument on the motion on March 25, 2019. See Opp’n
Chapter 7 Trustee Defs. Robert E. Bateman & Leslie A. Bateman’s
Mot. Order Withdrawing Reference Bankruptcy Ct. 10-17 (“Butler’s
Opp’n”), ECF No. 1; Reply Defs. Robert E. Bateman & Leslie A.
Bateman Opp’n Chapter 7 Trustee Mot. Order Withdrawing Reference
Bankruptcy Ct. 18-23 (“Reply”), ECF No. 1. At the motion
hearing, Sebago orally joined the younger Batemans’ motion.
After hearing argument, the Court GRANTED the younger Batemans’
motion. Electronic Clerk’s Notes, ECF No. 8. This memorandum
explains the Court’s reasoning.
III. ANALYSIS

The Court granted the motion for an order withdrawing the
reference because the Seventh Amendment to the United States
Constitution entitles the younger Batemans and Sebago to a jury
trial. See Granfinanciera, S.A. Vv. Nordberg, 492 U.S. 33, 40-42
(1989); Riley v. Wolverine, Proctor & Schwartz Ltd. (In re

Wolverine, Proctor & Schwartz, LLC), 404 B.R. 1, 2-3 (D. Mass.

 

2 This Court expresses no opinion on the merits of Sebago’s
motion to dismiss in this memorandum of decision.

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2009) (O’Toole, J.). Withdrawal of the reference at this stage
of the litigation also avoids this Court’s de novo review of the
Bankruptcy Court’s findings of fact and conclusions of law on

Sebago’s motion to dismiss, an efficient use of limited judicial

resources. See DeGiacomo v. Holland & Knight, LLP (In re

 

Inofin, Inc.), Chapter 7 Case No. 11-11010-JNF, Civ. A. No. 14-
10483, 2014 WL 1795575, at *2-3 (D. Mass. May 2, 2014) (Gorton,
J.) (“Inofin 1”).

A. Standard of Review

Butler’s adversary complaint alleged bankruptcy court
jurisdiction with citation to sections 157(b) and 1334(b) of
chapter 28 of the United States Code, which authorize the
bankruptcy courts to hear cases arising out of chapter 11 of the
United States Code. Adv. Compl. 9 4. This Court’s Local Rule
201 provides that any such cases “shall be referred” to the
Bankruptcy Court, thereby implementing sections 157 (b) and
1334 (b).

Even so, section 157 (d) allows the Court to withdraw the
reference “on timely motion of any party, for cause shown.”
Congress intended for district courts to withdraw the reference
to bankruptcy courts only where “essential to preserve a higher
interest.” Agin v. Sam Hill, LLC, No. 14-CV-12885, 2014 WL

6773727, at *2 (D. Mass. Dec. 2, 2014) (Casper, J.) (quoting

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Weiss v. Lockwood, 499 B.R. 392, 393 (D. Mass. 2013) (Gorton,
J.)).

Although section 157(d) does not define “cause,” courts
hold that cause to withdraw the reference obtains where
withdrawal would further the “goals of [1] promoting uniformity
in bankruptcy administration, [2] reducing forum shopping and
confusion, [3] fostering the economical use of the debtors' and
creditors' resources, and [4] expediting the bankruptcy

process.” Federal Trade Comm’n v. American Inst. for Research &

 

Dev., 219 B.R. 639, 647 (D. Mass. 1998) (Ponsor, J.) (quoting
Gray v. Solvay Polymers, Inc. (in re Dooley Plastic Co., Inc.),
182 B.R. 73, 80 (D. Mass. 1994) (Lindsay, J.)); see also Holland
Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 999 (5th Cir.
1985)). Other sessions of this Court have thus ruled that
“[c]lause to withdraw a reference exists where a party has a
right to a trial by jury and does not consent to having that
trial in the bankruptcy court.” Riley, 404 B.R. at 2 (citing
Container Recycling All. v. Lassman, 359 B.R. 358, 360 (D. Mass.
2007) (O'Toole, J.), abrogated on other grounds by Stern v.
Marshall, 564 U.S. 462, 496-99 (2011)).

B. Cause

This Court rules that the younger Batemans and Sebago’s
Seventh Amendment right to a jury trial constitutes cause to

withdraw the reference because the younger Batemans and Sebago

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do not agree to a jury trial in the Bankruptcy Court. See
Riley, 404 B.R. at 2.

The Seventh Amendment to the United States Constitution
provides:

In Suits at common law, where the value in
controversy shall exceed twenty dollars, the right of
trial by jury shall be preserved, and no fact tried by
a jury, shall be otherwise re-examined in any Court of
the United States, than according to the rules of the
common law.

If a statute confers “legal rights and remedies,
enforceable in an action for damages in the ordinary courts of

law,” it confers a jury trial right under the Seventh Amendment.

Curtis v. Loether, 415 U.S. 189, 194 (1974). Courts in the

 

First Circuit “undertake a three-part inquiry” when deciding
whether the jury trial right attaches to an action seeking to
enforce statutory rights. Full Spectrum Software, Inc. v. Forte

Automation Sys., Inc., 858 F.3d 666, 675 (lst Cir. 2017).

 

First, the Court must decide “whether the current action is
‘analogous to common-law causes of action ordinarily decided in
English law courts in the late 18th century.’” Id. (quoting

Braunstein v. McCabe, 571 F.3d 108, 118 (lst Cir. 2009)) .3

 

3 “[T]rial by jury is .. . the lamp that shows that freedom
lives.” Patrick Devlin, Trial by Jury 164 (London, 1956).

It ought be remembered that America itself had a richly
developed jury trial tradition (and the jurisprudence to go with
it) well over a century before we became a nation. See William
E. Nelson, Americanization of the Common Law: The Impact of

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Legal Change on Massachusetts Society, 1760-1830 at 21-30
(Cambridge, Mass. 1975); William E. Nelson, The Bighteenth
Century Background of John Marshall’s Constitutional
Jurisprudence, 76 Mich. L. Rev. 893, 904-17 (1978); Robert J.
Brink, “Immortality Brought to Light”: An Overview of
Massachusetts Colonial Court Records & William E. Nelson, Court
Records as Sources for Historical Writing, in Law_in Colonial
Massachusetts 1630-1800 at 471, 501 (The Colonial Soc’y of Mass.
1984); David Thomas Konig, The Virgin and the Virgin’s Sister:
Virginia, Massachusetts, and the Contested Legacy of Colonial
Law in The History of the Law in Massachusetts: The Supreme
Judicial Court, 1692-1992 (Russell K. Osgood ed., Supreme
Judicial Court Historical Soc’y 1992).

This tradition was, however, but rarely cited in early
federal court decisions since the desire to federalize the
national court system called for recourse to a single common
law. This theme was well expressed by the great justice Joseph
Story sitting as a circuit judge here in Massachusetts:

 

 

[W]e shall be able to comprehend the scope and
object of the [Seventh] amendment, which was proposed,
and almost immediately and unanimously adopted, as part
of the constitution. It is in these words: ‘In suits at
common law, where the value in controversy shall exceed
twenty dollars, the right of trial by jury shall be
preserved. And no fact tried by a jury shall be
otherwise re-examined in any court of the United States,
than according to the rules of the common law.’ Beyond
all question, the common law here alluded to is not the
common law of any individual state, (for it probably
differs in all), but it is the common law of England,
the grand reservoir of all our jurisprudence.

United States v. Wonson, 1 Gall. 5, 28 F. Cas. 745, 750 (C.C.D.
Mass. 1812) (Case No. 16,750) (Story, J., sitting as Circuit
Justice).

Today, when the guarantee of the Seventh Amendment has been
reduced to but a pitiful remnant of its original meaning and has
but few friends on the Supreme Court and among the institutional
judiciary, it might be well to remember the collective vision of
our forbearers who carried this “lamp that shows that freedom
lives” to our shores. See Devlin, supra.

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Second, and most importantly, the Court must decide whether the
plaintiff’s desired remedy is legal or equitable. Id. (quoting
Granfinanciera, 492 U.S. at 42). Third, where the previous two
inquiries suggest a jury trial right and Congress provided for a
non-Article III adjudicator for the claim, the Court must decide
whether the claim implicates private or public rights. Id.
Butler posits that the younger Batemans and Sebago’s jury
trial demand falters only on the second step of the Seventh
Amendment test. Butler Opp’n 4 6. The adversary complaint
asserts four counts of fraudulent transfer under the Federal
Bankruptcy Code and state laws.’ Adv. Compl. (I 54-91. The
Supreme Court held in Granfinanciera that an individual who has
not submitted a claim against a bankruptcy estate has a Seventh
Amendment jury trial right in a suit to recover a “fraudulent
monetary transfer.” 492 U.S. at 36, 60-65. Butler attempts to
distinguish Granfinanciera on the ground that he seeks to avoid
a fraudulent transfer of real property unlike the trustee in
Granfinanciera, who sought to avoid a fraudulent transfer of
money. Butler Opp’n 16-17. Butler suggests that his demand for
a reconveyance of the elder Batemans’ vacation home constitutes

an equitable remedy. Id. at 17 (citing Weiss, 499 B.R. at 394;

 

4 Count V seeks only a preliminary injunction, so it does
not affect this analysis. See Adv. Compl. 114 92-99.

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Campana v. Pilavis (In re Pilavis), 228 B.R. 808, 810 (Bankr. D.

Mass. 1999)).
Crucially, however, Butler concedes -- as he must under
Granfinanciera -- that “the Batemans likely have a right to a

jury trial to the extent that [Butler] seeks damages as a remedy
on the fraudulent transfer claims.” Butler Opp’n 16-17.
Indeed, Butler asks for damages on each fraudulent transfer
claim that he lodges and only requests conveyance of the elder
Batemans’ former vacation home as an alternative form of relief.
Adv. Compl. IU 62-63, 71-72, 79-80, 90-91. As the Supreme Court
reaffirmed in Granfinanciera:
(W]lhere an action is simply for the recovery and
possession of specific real or personal property, or for
the recovery of a money judgment, the action is one at
law. An action for the recovery of real property,
including damages for withholding it, has always been of
that class. The right which in this case the plaintiff
wishes to assert is his title to certain real property;
the remedy which he wishes to obtain is its possession

and enjoyment; and in a contest over the title both
parties have a constitutional right to call for a jury.

492 U.S. at 46 n.5 (quoting Whitehead v. Shattuck, 138 U.S. 146,
151 (1891)).

The Seventh Amendment thus requires a jury trial at least
to determine if the Batemans and Sebago owe damages; after that
trial, if Butler prevails, the Court shall then decide whether
Butler ought receive equitable relief. See MAZ Partners LP v.

Shear (In re PHC, Inc. S'holder Litig.), 894 F.3d 419, 437 (lst

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Cir, 2018) (citing 9 Charles Alan Wright, Arthur R. Miller, &
Edward H. Cooper et al., Federal Practice and Procedure § 2306
(3d ed.) (stating that “the constitutionally required solution
in the situations in which a single issue may be either legal or
equitable depending upon the remedy awarded is to have a jury
present to decide the issue, even though the district court then
may have to determine for itself, on the basis of the jury's
determination, whether to grant relief of a type that was

historically viewed as equitable.”)), cert. denied sub nom.

 

Shear v. MAZ Partners, LP, 139 S. Ct. 489 (2018).

 

Therefore, the Court ruled that cause to withdraw the
reference exists because the Batemans and Sebago have a right to
a jury trial and they “do[] not consent to having that trial in
the bankruptcy court.” See Riley, 404 B.R. at 2.

Cc. Timing

Butler urges the Court to delay withdrawing the reference
until after the Bankruptcy Court conducts pretrial proceedings.
Butler Opp’n @{@ 8-11 (citing Agin, 2014 WL 6773727; Inofin I,
2014 WL 1795575). The Court declines to do so for efficiency
reasons. The Court acknowledges that Local Rule 206
contemplates that bankruptcy courts will resolve cases, and, in
the event that a district court determines that a bankruptcy
court lacked the constitutional authority to enter a final order

or judgment, the district court may consider the bankruptcy

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court’s order or judgment “as proposed findings of fact and
conclusions of law.” LR 206.

The specific facts of this case place it within the class
of cases where early withdrawal of the reference furthers
justice. In many cases, such as where an adversary complaint
includes discrete equitable and legal claims, it is appropriate
to apply Local Rule 206 and allow the bankruptcy court to
address pretrial matters. See Agin, 2014 WL 6773727, at *3. In
such a case, the bankruptcy court may resolve some of the claims
without consulting a jury. See id. The bankruptcy court’s
pretrial decisions may thereby obviate the counts on which a
party has a putative jury trial right. See id. In contrast,
here, each of Butler’s claims invoke legal and equitable relief.
Adv. Compl. 9% 62-63, 71-72, 79-80, 90-91. Unlike the
bankruptcy court in Agin, the Bankruptcy Court here cannot
dispose of this case by “rulfing] solely on equitable grounds.”
See 2014 WL 6773727, at *3.

Butler cites but one other case from another session of
this Court in support of delay, Inofin I, 2014 WL 1795575. See
Adv. Compl. 9 13. This Court’s approach varies only slightly
from Judge Gorton’s in Inofin I. In Inofin I, Judge Gorton
denied a motion to withdraw the reference after the bankruptcy
court denied the defendants’ motion to dismiss and prior to

discovery, reasoning that the bankruptcy court was best situated

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to manage discovery. 2014 WL 1795575, at *2-3. Judge Gorton
denied the motion to withdraw the reference without prejudice,
however, because he expected that it would “likely be more
efficient for this Court to consider dispositive motions in the
first instance rather than reviewing de novo the proposed
findings of fact and conclusions of law of the bankruptcy judge
with respect to such motions.” Id. Accordingly, Judge Gorton

later withdrew the reference so as to rule on a summary judgment

motion. See DeGiacomo v. Holland & Knight, LLP (In re Inofin

 

 

Inc.), 219 F. Supp. 3d 265, 270 (D. Mass. 2016) (Gorton, J.)
(“Inofin II”).

Here, this Court withdraws the reference before the parties
have completed discovery. Although the Bankruptcy Court has not
ruled on pre-discovery dispositive motions, including Sebago’s
motion to dismiss, such rulings would be subject to this Court's
de novo review. See LR 206. Consequently, it would be
inefficient and delay resolution of this matter for this Court
to hold off on withdrawing the reference. Hence, the Court
deems withdrawal of the reference appropriate at this stage of
the litigation.

One final consideration bears mention. Withdrawal of the
reference in this instance serves our jury system, nothing more.
Should there be any suggestion of judge shopping or delay, then

the provisions of Local Rules 201 and 206 ought govern. That

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is, a bankruptcy litigant who asserts a jury trial right ought
make that assertion at the earliest possible moment. Moreover,
the Bankruptcy Court in the District of Massachusetts is a court
of commendable timeliness and efficiency. Usually no more than
nine months elapse from the joinder of issue and merits
adjudication. A litigant seeking a jury trial ought thus expect
the same nine-month run up to jury trial from the date of the
withdrawal.
Iv. CONCLUSION

Since fraudulent transfer claims are, with rare exception,
triable as matter of constitutional right before a jury, in
order fully to vindicate that constitutional guarantee, this
Court GRANTED the Batemans’ motion for an order withdrawing the

reference to the Bankruptcy Court, ECF No. 1.

WILLIAM G. G
DISTRICT JU :

 
